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  8                           UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                              CASE NO. 07CR1319WQH
                                                              CASE NO. 08CV1303WQH
 12                                        Plaintiff,
              vs.                                             ORDER
 13
       JORGE BELTRAN SANCHEZ,
 14
                                         Defendant.
 15
 16   HAYES, Judge:
 17          The matter before the Court is the Motion under 28 U.S.C. § 2255 to vacate, set aside,
 18   or correct sentence by a person in federal custody filed by Defendant. (Doc. # 133). Defendant
 19   moves the court to modify his sentence on the grounds that he is not able to reduce his sentence
 20   through a drug program based upon his deportation status. The Court finds that the issues
 21   raised in the petition are appropriate for summary disposition.
 22                                       APPLICABLE LAW
 23          28 U.S.C. §2255 provides that “A prisoner under sentence of a court established by Act
 24   of Congress claiming the right to be released upon the ground that the sentence was imposed
 25   in violation of the Constitution or laws of the United States, or that the court was without
 26   jurisdiction to impose such sentence, or that the sentence was in excess of the maximum
 27   authorized by law, or is otherwise subject to collateral attack, may move the court which
 28   imposed the sentence to vacate, set aside or correct the sentence.” A district court must

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  1   summarily dismiss a § 2255 application “[i]f it plainly appears from the motion, any attached
  2   exhibits, and the record of prior proceedings that the moving party is not entitled to relief.”
  3   Rule 4(b), Rules Governing Section 2255 Proceedings for the United States District courts.
  4   When this standard is satisfied, neither a hearing nor a response from the government is
  5   required. See Marrow v. United States, 772 F.2d 525, 526 (9th Cir. 1985).
  6                                    RULING OF THE COURT
  7          In this case, the record conclusively shows that the Defendant has waived his right to
  8   bring a § 2255 motion. In the plea agreement, the Defendant waived “to the full extent of the
  9   law, any right to appeal or to collaterally attack the conviction and sentence ... unless the Court
 10   imposes a custodial sentence above the greater of the high end of the guideline range
 11   recommended by the Government pursuant to this agreement at the time of sentencing.” (Doc.
 12   # 74 at page 9.) This waiver is clear, express and unequivocal. Plea agreements are
 13   contractual in nature, and their plain language will generally be enforced if the agreement is
 14   clear and unambiguous on its face. United States v. Jeronimo, 298 F.3d 1149, 1153 (9th Cir.
 15   2005). The Government recommended a sentence of 51 months which was the low end of the
 16   applicable guideline range of 51 - 63 months as provided in the plea agreement. (Doc. # 74
 17   at 8). The Court imposed a sentence of 45 months. (Doc. # 130). Pursuant to the terms of the
 18   plea agreement, the Defendant waived his right to collaterally attack the sentence imposed.
 19          Finally, the Defendant presents no grounds for relief under Section 2255. The
 20   Sentencing Reform Act gives the Bureau of Prisons the responsibility to “designate the place
 21   of the prisoner’s imprisonment.” 18 U.S.C. § 3621(b). See United States v. Cubillos, 91 F.3d
 22   1342, 1344-45 (9th Cir. 1996). The Court of Appeals for the Ninth Circuit has rejected the
 23   assertion that an alien’s equal protection rights are violated when he cannot be housed in a
 24   minimum security facility or a community correction center based upon his deportation status.
 25   See McClean v. Crabtree, 173 F.3d 1176, 1185-86 (9th Cir. 1999).
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  1          IT IS HEREBY ORDERED that the Motion under 28 U.S.C. § 2255 to vacate, set
  2   aside, or correct sentence by a person in federal custody filed by Defendant is denied.
  3
      DATED: October 27, 2008
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  5                                                  WILLIAM Q. HAYES
                                                    United States District Judge
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